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                                                                                                 FILED
                          IN THE UNITED STATES DISTRICT COURT                                DEC   1        3 201
                           FOR THE WESTERN DISTRICT OF TEXAS                       ERK,     u.
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                                    EL PASO DIVISION                                    '
                                                                                                   ois11.
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  UNITED STATES OF AMERICA,                         §   SEALED                                                       CL7K
                                                    §
             Plaintiff,                             §
                                                    §   CRIMINAL NO. EP-19-
  V.                                                §
                                                    §
  Carl Monroe Gordon,                               §
                                                    §
             Defendant.                             §



                                 Government's Motion to Seal
                           Criminal Complaint and Related Documents

         The United States of America hereby moves this Court to seal the Criminal Complaint

and related documents in this case, and in support thereof, states as follows:

    1.   On or about December 13, 2019, a Criminal Complaint and affidavit in support were filed

         charging the above-named defendant in the above-captioned cause. Related to these

         proceedings, the Court issued a warrant for the Defendant's arrest and the Government

         filed a motion to detain without bond pending the final disposition of the case.

   2. The Defendant is unaware of the charges pending against him. The premature disclosure

         of the existence of the Criminal Complaint and related documents would jeopardize the
         ability of law enforcement officers to locate the Defendant and apprehend him without

         incident.

   3. The Government therefore seeks an Order of the Court placing the Criminal Complaint and

         related documents concerning the above named Defendant in the above numbered cause

         under seal, until further order of the Court. The Government requests that the Order of the

         Court allow for the disclosure of the existence of the arrest warrant to federal and other law

         enforcement agencies, to the extent necessary to locate and apprehend the defendant to

         include entering the appropriate information into any law enforcement databases. When
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       the Defendant is arrested, the Criminal Complaint and related documents will be

       unsealed.

       For the foregoing reasons, the United States respectfully requests that the Court issue an

Order sealing this motion as well as the Criminal Complaint, affidavit, arrest warrant, and

motion to detain in the above-captioned case.

                                             Respectfully submitted,

                                             JOHN F. BASH
                                             UNITED STATES ATTORNEY



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